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UNITED STATES DISTRICT COURT
FOR THE
WESTERN DISTRICT OF NEW YORK

JERRY GRADL MOTORS, INC, and
LIFETIME MOTOR CARS, INC,,

Piaintiffs,

Vv. Case No. 1:21-cev-00409
ACV AUCTIONS, INC., BRIAN M.
MALCHAK, SUN CHEVROLET, INC.,
WHOLESALE CARS ONLINE.COM, LLC,
JOSEPH NEIMAN, GEORGE CHAMOUN,
DANIEL MAGNUSZEWSKI, and

TODD J. CAPUTO,

Nema” Sema” Vem ee geet ee cee” Ne Se ie! Sar” Semen!” Neel” Snare!” Smart”

Defendants.

ENTRY ORDER GRANTING IN PART AND DENYING IN PART
DEFENDANT ACV AUCTIONS INC.’S MOTION TO SEAL
(Doc. 34)

Defendant ACV Auctions, Inc. (“Defendant ACV”) moves to seal information
contained in paragraphs 14-17 of the affidavit of David Kaplan (the “Kaplan Affidavit”)
and Exhibits A-C attached thereto. On July 7, 2021, while Defendant ACV’s motion to
seal was pending, Plaintiffs Jerry Gradl Motors, Inc. and Lifetime Motor Cars, Inc.
(collectively, “Plaintiffs” filed a Second Amended Class Action Complaint, attaching
Exhibits A-C thereto,

Plaintiffs’ filing of documents does not automatically render them judicial
documents to which the public shall have unfettered access. See Brown v, Maxwell, 929
F.3d 41, 49 (2d Cir. 2019) (observing “the mere filing of a paper or document with the
court is insufficient to render that paper a judicial document subject to the right of public
access”) (internal quotation marks omitted), Were this the rule, a party could unilaterally
vitiate a confidentiality agreement or reveal its opponent’s trade secrets and proprietary

information by merely filing that information with a court. Plaintiffs, however, are

 

 
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correct that Defendant ACV bears the burden of establishing that sealing is appropriate,
that the standard is an exacting one, and that sealing must be no more extensive than
necessary. See SEC v. TheStreet.com, 273 F.3d 222, 231 (2d Cir. 2001).

Defendant ACV seeks sealing on two grounds. First, it contends that the
individuals whose names are disclosed in paragraphs 14-17 of the Kaplan Affidavit and
Exhibits A-C should have their identities sealed as there are third parties who retain a
privacy interest in their identities and bidding practices. As Plaintiffs point out, the
individuals include a defendant in this lawsuit and employees of Defendant Sun Auto
Warehouse, none of whom is alleged to be a disinterested third party. Instead, these
individuals are alleged to have participated in transactions that gave rise to Plaintiffs’
claims. Personal information beyond first and last names is not revealed. Against this
backdrop, Defendant ACV has failed to establish that sealing is necessary to protect an
interest that outweighs any right of public access.

Second, Defendant ACV asserts that Mr. Kaplan is a signatory to a July 12, 2018
New Employee Consent Agreement which requires him to file documents containing
non-public “trade-secrets,” “customers,” and “technology” under seal. Although a court
may consider a confidentiality agreement, see Gamble v. Deutsche Bank AG, 377 F 3d
133, 143 (2d Cir, 2004), the parties’ agreement to or promises of confidentiality are not
dispositive. See R&G Mortg. Corp. v. Fed. Home Loan Mortg. Corp., 584 F.3d 1, 12 (1st
Cir, 2009). Defendant ACV argues that it is uncontested that Exhibits A-C appear to be
screen shots from its internal website that is password protected.

The court finds that Defendant ACV’s internal Auction Manager Screen, which is
part of its Internal Tools application, is revealed in Exhibits A-C in a manner that
arguably discloses proprietary components of its internal database. The features of this
database are extraneous to Plaintiffs’ claims regarding the alleged “illegal shill bidding
practices [of] Malchfa]ck and Sun [Auto Warehouse]” (Doc, 29-3 at 5, 418), and are
adequately described, albeit more generally, elsewhere, With regard to these portions of
the challenged exhibits, the court agrees that Defendant ACV has satisfied its burden to

establish that sealing is proper and will in no way impair the public’s right of access.

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Defendant ACV may therefore produce a redacted copy of the challenged exhibits,
eliminating the top half of the document above the listed transactions and Plaintiffs are
directed to substitute the redacted documents for their unredacted counterparts attached
as Exhibits A-C to both the Kaplan Affidavit and the Second Amended Class Action
Complaint.
CONCLUSION

For the foregoing reasons, Defendant ACV’s motion to seal paragraphs 14-17 of
the Kaplan Affidavit is DENIED and its motion to seal Exhibits A-C thereto and to the
Second Amended Class Action Complaint is GRANTED IN PART (Doc. 34). Defendant
ACV shall produce redacted copies of Exhibits A-C within seven (7) business days of
this Entry Order and Plaintiffs shall substitute those redacted documents for Exhibits A-C
currently filed with the court within three (3) business days thereafter.

SO ORDERED.
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Dated this 13° day of July, 2021.
Christina Reiss, District Judge

United States District Court

 
